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                                               - orscrpuNAnv Bo-
Faul J. Killion
Chief Oisciplinary Counsel                  4+*         or   rHE %                    Raymond $. WierEiszewgki
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                                                                                      Daniel S. White
                                          OFFICE OF CIISCIPTINARY COUN5EL
                                                www.padisciptinaryboard.org


                                                   November 8, 2017

     Pf,   RSONAL AND C'ONFIDPNTIAL

     John Kelvin Conner. Hsquire
     Conner [,aw Grorrp LLC
     766 Old York Rc'ad, Suite I
     Jenkintown, PA I9046

                     RE:   Complaint of Sarah lrauntleroy
                           File No. C2-17-793
                           Qrr-7 $HOUpS.r    roR STAIqMENT pr REsPSj'YDtrNI',S POSIUON
     Dear Mr. Conner:

             Please be advised that this office has received and is currently considerjng a compleint
     against you frrrm Sarah Fauntleroy, 1634 N. 30th Steet, Philadelphia, PA 19121. It is important
     lor you to understand that issuance of this letter means that the complaint against you has
     $urvived this otlice's initial $cresning process and that, based upon the infbrmation currently
     available to us, it sppears that your alleged conduct may have violated the Pennsylvania Rules of
     Professional Conduct.

             it is also ,'mportant for you to understand thar it is rhe obligation of our office to develop
     all information     relevant to a complaint, including that infbrmation, which may justify or
     exonerate the alleged actions of" the respondent-attomey or mitigate the seriousness of any
     violations that may have or,cured. Since this complaint has survived our initial screening
     process you should retain or cunsult with counsel before suhmitting a statement cf your position.

                1'he alleged fucts presently under consideration are fls follows:

                 L         On July ?9, 2016, Sarah Fauntleroy executed a Ceneral Durable Power of

                           Attomey in your thvor, giving you, inter a/io, authority over her chscking account




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                                                                                            u'M$. Fauntleroy's
                                    at'Wells Fargo, account no.rending in 1496 (hereinafier

                                    checking account").
                                                                '}'auntleroy'r
                              1     In cr:nnection with lv{s.                    execution of the General Durable Power of

                                    Attorney, you signed an Acknowledgmrut Executed by Agent, in which you

                                    ackn*wledged that in the absence of a specific provisian to the contrary in the

                                    power of attomey or in 20 Pa.C.S", when acting as agent you would, inter alia,

                                    "exercise the powers for the benefit of the principal" (Ms. Fauntleroy),

                              3,    On August ?4, 2016, you authorized a transaction against Ms. F'auntleroy's

                                    checking account in the arnount of five hundred thirty-five dollars ($535.00) at
.:;


+;                                  Parx Casino in Bensalem, Pennsylvania.

                              {.    The   Augusl?4,zlrc fansaction at Parx           Casino r+'as not for the benefit of Ms.
                                                                        :


 illi
 r'li
 .a
                                    Fauntleroy.
                              q
      lI                            Ms. Fauntleroy was unaware of the August 24, 2016 transaction at Parx Casino.

                              6.    On August 25, 2A16, you authorized a transaction against Ms. Fauntleroy's

                                    checking account in the amount of five hundred thirty-five dollars ($535.00) at

                                    Parx Casino in Bensalem, Pennsylvania.

       i.l
       l+
                              7.    The August 23,2016 transaction at Parx Casino was not for &e benefit of Ms.
      'll;i




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        ;i.
                              L     Ir.{s. Fa'mrtleroy lves unaware   of the August ?,5,2015 ransaction at Perx Casino.
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                    9.    Or   August 29, 2016, you adthorized a trensaction against Ms. Fauntleroy's

                          checking account in the amount of five hundred seventeen dollars and seventy

                          cents ($517.70) at Parx Casino in }lensalem, Pennsylvania.

                    10.   The August 29, 20tti transaction at Parx Casino was not for the benefit of Ms.

                          FaLurtleroy.

                    11.   Ms. Fauntleroy wa,s unaware nlthe August 29, ?016 Sansaction al Parx Casino.

                    17.   On August 30, 2016, you authorircd a trafi$action against Ms. Fauntlsroy's

                          checking ac{ount in the amou}rt of three hundred four dollars and ninety-nine
                                                          1




                          cents ($304.99) ai Sugarhouse Casino in Philadelphia, Pennsylvania.
                                                          :



                    13.   orr August 30, ?016. you authorized a transaction against Ms. l'auntleroy's

                          checking account in the amount ol tjve hundred seventeen dollars and ninety-five

                          cents ($517.95) at Sugarhouse Casino in Philadelphia, Pennsylvanja.

                    14.   The August 30, 2016 trans*ctions at Sugarhouss Cesino were rot for the bsnefit
tl
                          of Ms. Fauntleroy,
l


                    15.   Ms. Fauntleroy was unttware of the August 30, 2016 tran$ections at Sugarhousr

                          Casino.

                    16.   on   September 1,2016, you authorized a transaction against Ms. Farmtleroy's

                          checking account in the arnount of one thousand fb*,v-two dollars and ninety-five

                          ccnts ($1.042.95) at the Borgata Hotel Cnsino   &   Spa in   Atlantic City, New Jersey.

                    17.   orr septrmber 1, ?016, you authorized a ransaction against Ms.            Fauntleroy's
    tit

                          checking &ccount in the amount of eighr hundred thirty-fbur dollars and ninety-




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                                fivE ceuts ($834.95) at the Borgata Hotel Casino & Spa in Atlantis City, New

                                Jersey.

                          t8.   On September 1,2016. you authorized a transaction against Ms. Fauntleroy's

                                checking &ccount in the amount ot'three hundred four dollars and ninety-niue

                                cents ($304.99) at the Borgata Hotel Casino      & Spa in Atlantic City, NewJersey.

                          19.   The Septentber 1, ?016 transactions at the Borgeta Hotsl Casino           &   Sp* were not

                                for the benelit of Ms. Fauntleroy.

                         20.    Ms. Faunlleroy was una\&'ars of the Septembor l,2016 transactions at the Borgata

                                Hotel Casino & Spa.

                         21.    or   septemher 2, 2016, you authorizcrl a transaction against Ms. Faunlleroy's
                                                                 i


                                checking account in the amounl of one thousand forty-two dollars and ninety-five

,.]
                                cents ($1,04?.95) at the Borgata l{otel casino       &   Spa in Attantic Ciry, New Jsrsey.
-
+l
'jj
                         7?.    on   Septemher ?, 2015, you authorized a transaction against Ms. Fauntleroy's

                                r:hecking sccount in the amount      *f   eight hundred thirty-fbur dollars and ninety-

                                five cents ($834.95) $t the Borgata l{otel casino & spa in Atiantic ciry, New
:\
$                               Jersey.
 rS
 li*
  :::
                         /.),   on   september 3, 2016, you auth*rized e transsction against Ms. Fauntleroy's

                                checking ascount in the amount of three hundred four dollars and ninety-nine

  :a:t
                                cents ($304"991 at the Borgata Hotel casino      &   Spa in   Atlantic city, New Jersey.
  :'
  't*.

                         24.    'l"l:e september ?, 2016 transactions at the Borgata
  1&\
  &
  ,,tn                                                                               Hotel casino         & spa were not
  .ft
                                lor the benefit of Ms. Fauntleroy.
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                  25.   Ms. Fauntleroy was unawars ot'the September 2, 2016 transactions at the Borgata

                        HcteJ Casino   &   Spa.


                  ?6.   On September 6, 2016, you authorjzed a transaction against Ms. Fauntleroy's

                        cheuking account in the arnount of one thousand thirty-fi,,'c dollars and forty-five

                        cents ($1,032.45) at Farx Casino ln Hensalem, Pennsylvania.

                  )1    on   September 6.2016, you authorized e transaction against Ms. Fauntleroy's

                        checking account in the amount of eight hundred twe$ty-six dollars ancl fifty-five

                        cerrts ($826.55) at Parx Casino in Bensalem, Pennsylvania.

                  t8.   The Septernber 6, 2S16 transactions at Parx Casino were not for the benefit of Ms.
                                                         :




                        Fa.rntleroy.

                  29,   M:,. Fauntleroy wes unawore of the september 6, 10'16 transmtions at parx

                        Casino.

                  30.   on   september 8, ?016. you authorized a tran$action against Ms. sauntleroy's

                        ch*cking account in the amsunt of one thousand thirty-Hvo dollars and forty-five

                        cents ($1,03?.45) at Parx Casino rin Bensalem. Pennsylvania.

                  3t,   on   september 8, ?016, you authorized a ransaction against Ms. Fauntleroy's
:,




i
    I
                        checkirrg accouill in the amount of eight hundred twenty-six dollars anel fifty-five
a;,




i1i
                        cents ($826.55) at Farx Casinei in,Bensaleur, Pennsylvania.

                        The September 8, i?0l6 transactions at Parx Casino were not for the benefit of Ms.

                        tauntleroy.




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                     JJ.   Ms. Fauntlsroy was unav/arerof the September 8, 2016 transactions at Parx

                           Casino.

                     34.   On Septembcr 9, 2016, you authorized a transaction against Ms. Fauntleroy's

                           checking account in the amount of one thousand thirty-two dollars and fbrty-{ive

                           cents ($1,032.45) at Parx Casino in Bensalem, Pennsylvania.

                     35.   The September 9, 2016 transaction at Parx Casino was not for the benefit of Ms.

                           Farrntleroy,

                     36.   Ml. Fauntleroy    wes snaware of the September 9. 2016 transaction at Parx Casino.

                     37.   Or, September 12.2016. you authorized a transaction against Ms. Fauntleroy's

                           ch,rcking acccunt in the amoun of one th<lusand thirty-two dollars and forty-five

                           cer..ts ($1,03 2.45)   *tParx Casino in Bensalem, Pennsylvania.

                     38.   Ttrt September l?, 2016 transaction at Parx Casino was not for the benefit of Ms.

                           Fauntleroy.

                     39.   Ms. Fauntleroy was unaware of the september l?, 2016 fansectior at parx

                           Casino.
:l:,


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ti                   40.   On September 13,3016, you authorized e transaction against k{s. Fauntleroy's

                           checking account in the amount of one thousand thi*y-tu,o dollars and f<rrty-five

                           ce.rts ($ 1,03?.45) at Parx Casino in Bensalern, Pennsylvania.

                     4t.   orr september 13,3016, yau authorir,ed a transaction against Ms. Fauntleroy's
 !!i
                           checking account in the amount of eight hundred twenty-six dollars and fifty-five
 .€

   :itt
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                           cents ($826.55) at Parx Casino in Bensalem, Pennsylvania.
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                            'l'he Septemtrer 13, ?016 transactions
                     42,                                           at llarx Casino were not for the benetit of

                            Ms. Fauntleroy.

                    43.    Ml. Fsg1111aro,     was unawilre   of the Septernbor 13, 2016 transactions at     Parx

                           Casino.

                    44"    on   September 14, ?0t6, you authoriaed a fansaction against Ms. Fairntleroy's

                           checking &ccouni in the amount of one thousand thirty-two dollars and forty-five

                           cents ($1,032.45) at   Pffx Casino in Sensalem. Pennsylvania.

                    45.    On Septernber 14,2016, you authorizecl a transaction against Ms. F'auntleroy's

                           ch*cking account in the amount of eight hundred twenty-six dollars and fifty-{ive

                           *ents ($8?6.55) at Parx Casino in Bensalem, pennsylvania.

                    4$.    Th* September 14,2016 transactions at Parx Casino were not ttlr the benetjt of

                           Ms, Fauntler*y.

,:
                    47.    Ms. Fauntleroy was unaware orf the September 14, ?016 transactions at             pane

                           Casino.

                    48.    on   Septen:ber 16,2016, you authorizcd a trar$ection against Ms. Farurtleroy,s

                           checking account     in the amount r:f three hundred lour dollars and ninety-nine
                           cents ($304.99) at the Borgata Horel Casinr:   &   $pa in Atlantic City, New Jersey.

                 49.       The september 16, 2016 transaction at the llorgata H*tel casino        & spa was not
                           for the benefit of Ms. Fauntleroy.

                 50.       Mr' Fauntleroy    wa$ unaware of the Septcmber 16, ?016 transactiCIn at the Borgata

                           H*tel Casino & Spa.



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                  51.   On September 19,2016, you authorized a tran$sction against Ms, Fauntleroy's
                                                              i


                        checking account in the amount of one hun,Jred sixty-four dollars a*d ninety-nine

                        cents ($164.99) at the Bor:gata Hotel Casino      &   Spa in Atlantic   Cif,   New Jersey.

                  52.   The Septemher 19. 2016 transaction at the Borgata l{otel Casino            & $pa was nert
                        for the benefit of Ms. Fauntleroy.

                  53.   Ms. Fauntleroy       wa"s un&warc   of the September 19, 2016 transaction at the Borgata

                        HotetCasino & Spa.

                  54.   on septernber 22,2016, you authorjzed a transaction             against Ms. Fauntleroy's

                        checking account in the amountrof three hundred dollars ($300.00) at the Borgat*

                        I{ctel Casino & Spa in Atlantic City, New Jersey.
  i
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ri
                  55.   Or   september ?2,2016, you authorized e transaction against Ms. Fauntleroy's
 I
  :

                        ch*cking account in the amount of one thousand forty*rvo dollars and ninety-five

                        cents ($1,042.95) at the Borgata Hotel Casinu       &   Spa in Atlantic City, New Jersey.

ll                56.   on september I?, 2016, you authcrized a transaction            against Ms. Fauntleruy's
 t:

*l                      checking account in the atnouat of eight hundred thirty-four dollars and ninety-

                        five cents ($834.95) at the Borgata Hotel casino          &   spa in Atl*ntic city. New

                        Jersey.

                  57.   The september 22, 2016 transactions at the Borgata Hotel Casino & Spa were not

                        li.rr the benefit   of Ms. Fauntleroy.

              58.       Ms. Fauntleroy was unaware of the september z?, 2016 transactions at                    the

                        $orgata Hotel Cmino & Spa.




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                       59.   On September 23, ?016, you authorizcd a transaction against Ms. Fauntleroy's

                             chacking account in the amount of one thr:usand thi*y-two dollars and forty-five

                             cerrts ($1,032.45) at Parx Casinq in Bensalem, Pennsylvania.

                       60.   On September 23, 2016, you authorizsd a transaction against Ms. F'auntleroy's

                             checking acsount in the amount of eight hundred twenty-six dollars and fifty-fivc

                             cents ($826.55) at Parx Casino in Bensalem, Pennsylvania.

                       61.   The Septemher 23. 2016 transactions at Parx Casino rverc not for the benefit of

'1,                          Ms. Fauntlerov.
It
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t;:
                       62.   Ms. l'auntleroy was unaware of the September 33, 2016 traasactions at Parx
I
                             Ca';ino.

                       63    or, septemter 27,2016, you authorized a transaction     against Ms. Fauntleroy's
                                                             i


.{                           chtcking e$count in the amoult,of one thousand thirty+wo dollars and forty-five
-"i
.n-


I
.t                           corts ($1,032.45) st Parx Casino in Bensalem, Penn*ylvenia"
ilt


                       &.    On September ?7, 2016, you authorized a ransaction against Ms. Fauntleroy's

                             checking a$count in the amount of three hunrlrecl eleven clollars and eighty cents

                             (S] I L80) at ParK Casino in Bensalem, Penns,vlvania.

                       65.   The lieptember 27, 2016 transastions at Parx Casino were not for the benefit of

                             hls. Fauntlerny.

                       66.   Ms. Fauntleroy was unaw&re of the September 27,7016 transactions at Parx

                             Casino.


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             67.    On September 30,2016, you authorized a traxsection against Ms. Fauntleroy's

                    ch*cking lrccount in the arnount of one thousand thirty*wo dollars and forty-live

                    cents ($1,032.45) at Parx Casino in Bensalem, Pennsylvania.

             68.    On September 30,2016, you authorizecl a xransaction against Ms. Fauntleroy's

                    checking account in the antount of live hundred seventeen dollars and seventy

                    ceiits ($517.?0) at Parx Casino in Bensalem. Pennsylvania.

             69.    The September 30, 2016 transactions at Parx Casino were not for the benefit of

                    Mrr. Fauntleroy.

             70.    Ms. Fauntleroy was unawale of thc September 30, 2016 transactions at Ilsrx

                    Casino.

             71. Or October 5, 2016, you au&orieed a transaction against Ms. Fauntlersy'$
                    checking account in the amount of one thousand thirty*wo dollars and fofty-five

                    cents ($1,032.45) at Parx Casino in Bensalem, Penns.vlvania.

            72.     On October 5. ?016, you outhorir.ed a transaction against Ms. Fauntleroy'.s

                    checking account in ths amount ol five huudred scvsnteen dollars and seventy

                    cents ($517.70) at Farx Casino in Bensalem, Pennsylvania.

            13.    The October 5, ?016 transactions at llarx Casino lvere not for the benefit of Ms.

                    Sauntleroy.

            74,    Ms. Fauntleroy was unaware of the October 5, 2016 transactions at Parx Casino.




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                75.    on october 7,       2a16, you authorizsd     a transaction   against Ms. Fauntleroy's

                       checking account in the amount of one thousand thirty-two dollars and forty-five

                       cents ($1,032.45) at Parx Casino in Bensalem, pennsylvania.

                76,    rhe october 7, ?016 transaction at Parx Casino was not for the benefit of Ms.

                       Fauntleroy.

                77.    Ms. F'auntleroy was unaware of the Octoher T,2ll|transaction at Parx Casino.
                                                            i



                78.    on october I l, 2016, you        authorized a ffansaction against Ms. Fauntleroy,s

                       checking account in the amount of one thousand thirty-two dollars and fo*y-five

  I
                       cents ($1,032.45) at Parx Casino in Bensalem, pemsylvania.
iri

                79.    on october 11,2016, you         authorized a transaction against Ms. h.auntieroy,s

                      checking account in the amount of one thousancl two hundred thirty-eight
                                                                                               dollars

                      and thirty-five cents ($1,238.35) at perx casino in Bensalem, pennsylvania.

l,!:

  ,i
               80.    Ths October I   l,   2016 transactions at Parx Casino were not fbr the beusfit of Ms.

l!4                   Farrntleroy.

               81.    Ms. Fauntleroy was unaware of the October I l, 2016 kansactions at parx Casino.

               82.    on october 17,2a16, you          authorized a transaction against Ms. Fauntleroy's

{                     checking acoount in the amount of one thousand thirty-two dollars and forty-five
I
iF
}I
.l
                      cerrts ($ I ,A32.45) at Parx Casino   in Bensalem, pennsylvania.
i!

               83.    The Octobet 17,?016 transaction at Parx Casino was not forthe benefit
                                                                                            of Ms.
                      Fauntleroy.

               84.    Ms. Fauntleroy was unaware of the October 17,20l6transaction at parx Casino.




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                  85.     On October 18,2016, you authorized a transaction against Ms. Fauntleroy's

                          checking account in rhe amount of one thrusand thirty-tw* dollars and forty-five

                          cents ($ I ,()32.45) at llarx Ca"rino in Bensalem, Pennsylvania.

                  86.     On October 18,2016, you authorized a lransaction against Ms. Fauntleroy's

                         checking account in the amount of six hundred twsnty doltars a*d sixty-five cents

                         t$620.65) al Parx Casino in Bensalem, Pennsylvania.

                 87.     On October 18, 2016, you &mhorized a transaction against Ms. Fauntleroy's

                         ch,:cking account in the amount of three hundred eleven dullars and eighty cents

                         ($311,80) at Parx Casino in Bensalem, Pennsylvania.

                 88.     The October 18, 2016 transactions at llarx Clasino wers not fcr the beneflt of Ms.




                 89.     Ms. Fauntleroy was unaware of the October 18, 2016 transactions at Parx Casino.

                 90.     On October 19, 2016, |ou authorized a transactioa against Ms. Fauntleroy's

                         checking account in the amount of one thowanrJ six hundred fifty tlollars and

                         fliteen cents ($1,650.I5) at Parx Casino in Bensalem, Pennsylvania.

                 91.     Orr October I9,2016, you authorizcd a ffansaction against Ms. Fauntleroy's

                        . chr:cking accounl in the amount of three hundred sleven dollars and eighty cents

                         {$il1.80) at Parx Casino in Bsnsalem, Pennsylvania.

                 92.     'l'be October 19, 2016 transactions at Parx Casino rvere
                                                                                  nut fur the benefit nf Ms.

                         Fauntleroy.
,?.p,



 :rij            93,     Ms. Fauntleroy was unaware of ths Octotrer 19" 2016 knnsactions at Parx Casino.


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                      94.   Or    October 21,2016i you authorized a transaction against hls. Fauntleroy's

                            checking ascount in the amouRt of tluee hundred fuur dollars and ninety-nine

                            cents ($304.99) at the Borgata Hotel Casino    &   Spa in Atlantic City, New Jersey.

                      95.   On October ?1, ?016, you authorized a transaction ugainst Ms. Fauntleroy's

                            checking accc,uilt in the amount of one thousand lbrty-two dollars and ninety-five

                            cents ($ 1,043.95) at thc Borgata I lotel Casino   &   Spa in Atlantic City, New Jersey.

                     96.    Or    October 21,2016. you authorized a trensoction against Ms. Fauntleroy's

                            ch*cking accouflt in the amount of eight hundred thirty-fitur dollars and ninety-

                            live cents ($S34.95) at the Borgata llotel Casino & Spa in Atlantic Ciry, New

                            Jer sey,

                     q7.    Or. October 21,2016, you authorized a ransaction against Ms. Fauntleroy's

                            ch*cking account in the amount of one thousaud forty-two dollars and ninety-flrve

                            cents ($1,il42.95) at the Borgata   llotel Casino & Spa in Atlantic City, New Jersey.
ll

i                    98.    On October ?1, ?016, you authorized a transaction against Ms. Fauntleroy's
s
:
id                          checking account in the amount of three hundred dollars ($300"S0) at &e Borgata

                            H*tel Casino & Spa in Atlantic City, New Jersey.

                     99.    On Octobcr ?1,2016, you authorized a transaction against Ms. Fauntleroy's

                            ch*cking account in the amount of eight hundred thirty-four dollars and ninety-

                            fire cents {$834.95) at the Borgata Flotel Ca$ino &         .$pa   in Atlantic City, New
                            Jersey.




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              100.       The October ?1, 2016 transactibns at the Borgata hlotol Casino        &   Spa were not

                         for thc benefit of Ms. Fauntleroy.

              l0l   .    Ms. Fauntleroy was unaware of the Oc.tober 21, 2016 trenssctions at the Borgata

                         Hotel Casino & Spa.

              102.      On October 24,2016, you authorized a transaction against Ms. Fauntleroy's

                        checking account in the amount of one thousand furtytwo dollars and ninety-five

                        cents ($ 1,04?.95) at &e Borgata Hotel Casino     &   Spa in Atlantic City, New Jersey.
                                                         :



              103. On October ?4,2016,            you aulhorized a tansaction against Ms. Fauntleroy's

                        checking accuunt in the amount of eight hundre,J thirty-four dollars and ninety-

                        five cents ($834.95) at the Borgata Hotel Casino & Spa in Atlantic City, New

                        Jersey.

             104' On Octobe r         24,2016" you authorizsd a trarsaction against Ms. Faunrleroy's

                        checking ascount in the amount of three hundred fbur dollars and ninety-nine
                                                         :




                        cents ($304.99) at the Sorgata Hotel Casino   &   Spa in Atlantic City, New Jersey.

             105.       On October 24,2016, you au(horized a transaction against Ms.               F'auntleroyos

                        checking account in the amcunt of one thousand forly-two dollars and ninely-five

                        cents ($1.CI42.95) at ths SorgatarHotel Casino   &    Spa in Atlantic City, New Jersey"

|1.
             106. On October ?4,2016,            you authorizerJ a transaction against Ms. I;'auntleroy's

                        checking account in the amount of eight hundred thirty-four dollars and ninety-

                        five cents ($334.95) *t the Borgata Hotel Casino & Spa in Atlantic City, New

                        Jersey.




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                    107. On October 24,2A16. you authcrized a transaction               against Ms. Fauntleroy's

                          checking &ccount     in the amount of tluee hundred ft:ur dollars and nlnety-nine

                          cents ($304.99) at the Borgala Hotsl Casino      &   Spa in Atlantic City, New Jersey.

                108.      The October 24,2016 transactions al the Borgata l{ntel Casino           &    Spa were not

                          for the benefit of Ms. Fauntleroy.

                109.      Ms. Fauntleroy wa$ unawar* of the October ?4,2016 transactions at the Borgata

                          Hotel Casino   &   Spa.


                110. On October 26,2016, you authorizeci a transaction against Ms. Fauntleroy's
                          checking account in the amount of one thousand thirty+wo dollars and fcrty-five
                                                            i


                          cerrts ($ I ,032.45) at Parx Casino:in Bensalem, Irennsylvania.

                lll.      Or   October 26.2016, you authorized a transaction against            I{s,   Faunlleroy's

                          checking account in the arnount       oleiglit hundred twenty-six dollars and fifty-five

                          csnts ($826.55) at Parx Casino in Bensalem, Pennsylvania.

                112.      The October ?6, ?016 transactions at parx Cssino were not for the benefit of Ms.

                          Farrntleroy.

                I   13.   Ms. Fauntleroy was unaware of the October 26, ?015 transactions at Pam Casins.

                114. On Octobet 27, ?Afi,           you authorized a transactiun against Ms. Fauntleroy's

                          checking acsount in the amount of six hundred twenty dollars and sixty-fiye csnt$

                          ($6?0,65) af Parx Casino in Bensalem, Pennsylvania.

                115.      The Octobet    27,20fi kansaction at Parx       Casino was not for the benefit of Ms.

                          I;auntleroy.




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                   116.       Ms. Fauntleroy wfis unawars of the Ostober     27,Z}fi     ffansaction at Parx Casino.

                   117. On October          31, ?016, you authorized a transacticn against Ms. Fauntleroy's

                              checking occount in the &nourt of five hundred ssventeen dollars and seventy

                              cents ($517 -7Ai al Pant Casino in Bensalern, Pennsylvania.

                   118.       On Octotrer 31, 2016, you authouz,ed a lransaclion against Ms. Fauntleroyos

                              checking &cc.ount in the amount of three hundred eleven dollars and eighty cents

                              ($31 L80) at Parx Casino in llensalem. Pennsylvania.


                   Il   r.    The October 3 l, 2016 transactions al llarx Casinr: were not fur the benefit of Ms.

                              Fauntleroy.

                      12t).   Ms. ltauntleroy was un&ware of the Oetober     31 ,   2016 transactions at Parx Casino.

                   121.       On November 4,2016, you authorjzed a transaction against Ms. Fauntleroy's
iif

:4.
                              checking account in the amount of tlree hundred tbur dollars and ninety-nine
t
5
!4
ti,i                          cents ($304,99) at the Borgata Ilotel Casino   & Spr in Atlantic City, New     Jersey.

                   122. On November 4, 2016, you authr:rjzetl a transaction                 against Ms, Fauntleroy's

                              checking account in the amount of one thousand forry,+wo dollars and ninety-five

                              cents ($1,042.95) at the Borgafa Flotel Casino   &    $pa in Atlantic City, New Jersey.

                  123.        On November 4, ?016, you authorieed a transaction against Ms. Fauntleroy's

                              chi:cking acsount in the arnount of eight hundred thirty-fr:ur dollars and nineiy-

                              five cents ($834.95) at the Borgata l{otel Casino & Spa in Atlantic City, Nerv
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               124.        'l'hr: November 4, 2016 transnctions at the Borgata Hotel Casino   &   Spa were not

                           lor the benefit of Ms. F'auntleroy.

               125,        M:r.   plunllrroy was un&w&re of the November 4, 2016 transactiuns at the Br:rgata

                           F{otel Casino   &   Spa.

               126.        On November t4,2016, you authorized a transection against Ms. Fauntleroy's

                           ch*wking acsount in the amount of one thousand thirty+wo dollars and tbrty-five

                           cents ($1,032.45) at Parx Casino in Bensalem, Pennsylvania.

               127.        Or: November 14, 2016, you authnrized a transaction against      Mt,   Fauntleroy's

                           checking account in the amount of eight hundred twenty-six dollars and fifty-{ive

                           cerrts ($826.55) at Parx Casino in Bensalem, Pennsylvania,

               128.        "lhe November 14, 2016 transactions at
                                                                  llarx Clasino were not forthe benefit of

                           Mr,. Farmtleroy"

               l?9.        Mr. Fauntleroy wa$ un&ware clf the November 14, 7A16 $ansactions at Parx
                           Casino.

              130.         On November 2?,2016, you authsrized a transaction against Ms. F*untleroy's

                           cheching account in the amount of six hundred twenty dollars and sixty-Iive eents

                           ($f,20.65) at Parx Casino in Bensalem. Pennsylvania.

              I3   1   .   I'he Novembu 22,20 I 6 transaction at Parx Casino was not fbr the benefit of Ms.

                           Fauntleroy"
                                                                 l



              132. Ms, Fauntleroy              lvas unaware   of thc November 22, 2016 transaction at Parx
                           Casino
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                   133.   On November 25, 2016, you authorized a transaction against Ms. Fauntleroy's

                          checking acec,unt in the amount of three hundred eleven dollars and eighty cents

                          ($ii1 1.S0) at Farx Casino in Bensalem. Pennsylvania.

                   134.   Th* November 25, 201 6 transaction at Parx Casino was not fbr the benefit of Ms.

                          Fauntleroy.

                   I35. Ms. Fauntteroy was unaware of the Novembsr ?5, 2016 transaction at Parx
                          Casino.

                   136. Or Novsmber 28,2016, you authorized          e ffansaction against Ms. Fauntleroy's

                          chacking account in the amount of eight hundred twenty-six dollars and fift1.fivs

                          cents ($826.55) at Parx Casino in Bensalem, Pennsylvania.

                   I37.   The November 28, 2016 transaction at Pnrx Casino was not fur tho benefit of Ms.

                          Faontleroy.

                   138, hll.   Fauntleroy was unawars     of the November 28, 2016 transaction et Parx

                          Casino.

                139. On December 1,2016, you authorized a transaction against lv{s. Farmtleroyos
                          checking account in the amount of six hundred twenty dollars and sixty-five oents

                          ($f20.65) at Panr Casino in Bensalem, Pennsylvania.

                140. On December 1,2016,           you authorized a ffansaction against Ms. Fauntleroy's

                          checking sccount in the amount of six hundred twenty dollars and sixty-{ive cents

                          ($620.65) at Parx Casino in Bensaiem, Pennsylvania.

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                      141.   The December 1, 2016 transactions at Farx Casino were not for thr bene.fit of Ms.

                             F'auntleroy.

                   142. Ms. Fauntleroy          was unaware of the December      l,   ?016 transactions at Parx

                             Casino.

                   143.      Or. Deeember 6. 2016, you authorized a transaction against Ms. Fauntleroy's

                             checking &ccount in the amount of one thousand thirty-two dollars and forty-five

                             cents ($1.03?.45i at Parx Casino in Bensalem, Pennsylvania.

                   144.      The December 6, 2016 transaction at Parx Casino was not for ths benefit of Ms.

                             Fauntleroy.

                   145.      Ms. Fauntleroy was unaware of the December 6, 2016 transaction st Parx Casino.

                   146. Or De(.embsr 12. 2016, you authorizsd a transaction            against Ms. Fauntleroy's

                             checking account in the amount of seven hundred twenty-three dollars and sixty

                             cents ($723.60) at Parx Casinrr in Bensalem, Pennsylvania.

                   147. (Jn Decernber          12,2016, you authorized a transaction against Ms. Fauntleroy's
a
                             checking account in the amqunlrof ons thousand thirty-two dollars and forty-five
i:X


                             cents ($1,032.45) at Parx Casino in Bensalem, Pennsylvania.

                  148.       The December 12. 2016 transactions at Parx Casino were not for the benefit of

                             M;. Fauntleroy.

                  149. Ms. Fauntlsroy was una\i/are of the December l?,               2016 tmns&ctions at Parx
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               150.   On l)ecernber 29, ?016. you authorjzrd a transaction against lvls. Fauntleroy's

                      checking account in the amounl of five hundrcd seventeen dollars and seventy

                      cenls ($517.70) at Parx Casino in Sensalem, Pennsylvania.

               151.   On December 39,2016, you authorized a transaction against Ms. Fauntleroy's

                      checking account in the arnount of eight hundreei twenty-six dollars and fifty-{ive

                      cents ($826.55) at Parx Ca*ino in Bensalem, Pennsylvania.
                                                                  I




               152.   The December 29, 2016 transactions ai Parx Casino wers not for the benefit of

                      Ms. Fauntleroy.

               153. Ms. Fauntleroy       was unaware of the December 29, ?016 transactions at Parx

                      Ca.sino.

               154, Or    January   3,   2A17,   you   authori        xd a transaction against Ms. Fauntleroy's
                      checking account in the amount of three hundred four dollars and ninety-nine

                      cents ($304.99) at the Borgata    llotel Casino &        Spa in Atlantic City, New Jersey.

               155. On January 3.2017, vou authorized a kansestion against Ms.                            Fauntleroy's

                      checking accouilt in the amount olone thousand ibrty-two dollars and ninety-five

                      cents ($1,0,12,95) at the Borgata Ilotel Casinn          &   Spa in   Atiantic City, New Jersey.
                                                              :




               156.   Orr January 3,2017, you authnrizsd a transasticln against Ms. Fountleroy's

                      checking account in the amount of eight hundred thirty-frur dollars and ninety-

                      five cents ($834.95) at the Borgata llotel Casino & Spa in Atlantic City, New

                      Jersey.                             l

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                      157. Or: January'3,2017, you authorized a trans*ction egeinst Ms. Fauntleroyns
                                                                    :




                             checking account in the &mount of one thousand two hundred fifty dollars and

                             nir,ety-five cents ($1"250"95) rt the Borgata Hotel Casino & Spa in Atlantic City,

                             ){eu, Jersey"

                      158.   Or: Janu*ry     3,   2A17, you authorized   a transaction against Ms.       Fauntleroy's

                             checking eccount in the amount of six hundred twenty-six rlollars and ninety-five

                             cents ($626.95) at the Borgata Idotel Casino   &   Spa in Atlantic City, New Jersey.

                  I59'       On January      i,   ?01?, you authorized a transaction against Ms. l'auntleroy's

                             ehrcking account in the emount of tkee hundred fuur rlollars and ninety-nine

                             certs ($304.99i at the Borgata Hotel Casinn & $pa in Atlantic City, New Jersey.
 lr
                  160. Ori January 3, 201?, you *uthorixed a transaction                   against Ms. Fagnrlefi:y's

                             ch*cking account in the amount o1'three hunclretl four dollars and ninety-nine

                             cents ($304"99) at the Borgata Hotel Casino    &   Spa in Atlantic City, New Jersey.

:$                16l"       On January 3, ?01?n you authorized a transaction against Ms. Fauntleroy,s
rl
lri
lD                           checking account in the amount of six hundred twenty-siK dollars and ninsty-five

                             cents ($6?6"95) at the Borgata Hotel Casino    &   Spa in   Atlantic City, New Jersey.

                  162. On January 3, ?017. you authorized a transaction                    against Ms. Fauntleroy,s
i!                         checking accclunt in the amount of one thousancl two hundred fifty dollars and
i*
:+
.(j,                       ninety-five eents ($1,250.95) at the Borgata Horel Casino & Spa in Atlantic City,
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                           New Jersey.
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                   163.   The Janunry    3,2AV transactious at the llorgata Hotel Casino &    Spa were not for

                          the benefit of Ms, Fauntleroy.

                   164. Ms. Fauntleroy was unaware of the January 3,2*17            transactions at the Borgata

                          Hctel Casino & Spa.

                   165. On January 4.2017, you authorized a transactiun              against Ms. Fauntleroy'$

                          checking acu:unt in the amount of one th<lusand thirry-two dollars and forty-five

                          cents ($1,032.45) at Parx Casino in Sensalem, Pennsylvania.

                   166. Ori January 4,2A17, you authorized a transaction             against Ms. F'auntleroy's

                          checking accotutt in the arnount of six hundrecl twenty clollars antl sixty-five cents

                          ($6?0.65) at Parx C*sino in Bensalem. Pennsylvania.

                   167. Tht January 4,2017 transactions et Farx Casino were not fi:r the benefit of Ms.
                          Fauntleroy.
IN



                168.      Mt;. F'auntleroy was unaware of the January 4, 201? tran,saction* at Parx Casino.

                   169. On     January 6, ?017, you authorizqd      a transactiun   against Ms. Fauntlsroy's
                                                            :




                          checking aocount in the amount of eight hundred twenty-six dollars and fifty-five

                          cents ($8?6.55) at Parx Casino in Bensalem, Pennsylvania,

                170. Th* January 6,2017          transaction at perx Casino wa$ not tbr the benefit     of Ms.
 ,.



]i!                       F'duntleroy.

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                17l.      Ms. Fauntleroy wils unaware of the January 6, ?017 transaction at Parx Casino,
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                   172. On January           11, 2017, you authorized   I   transection against Ms, Fauntleroy's

                          checking account in the amuunt of cne thr:usand thirty-twcr dollars and forty-lirve

                          cents ($l-032.45) at Parx Casino in Bensalem, Fennsylvania.

                173.      The January 11, ?017 transaction at Parx Casino was not for the benefit of Ms,

                          Fauntleroy.

                   174.   Ms. Fauntlero,v was unaware of the January 11,2017 transaction at Parx Casino.

                   175. On January 13.2017, you authorized e tran$astion against Ms. l'auntleroy's
                          chccking account in the amount of one thousand thirty-trvo dollars and {brty-five

                          cents ($1,032"45) at Parx Casino in Bensalem, Pennsylvania.

                   175. Th* January 13,2017 transaction           at Parx Casino was not         br   the benefit of Ms.

                          Fauntleroy.

                177. Mr. Fauntleroy            was unaware of the ianuary 13, 2017 transaction at Parx Casino,

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il
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                178. On January 17,2A17, you authorized a transaction                        against Ms. F*untleroy's
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                          checking account in the amount of one thousand thirty-two dollars and forty-five
ifr.


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  rii
                          cents ($1,032"45) at Parx Casino in Bensalem, Pennsylvania.

               179.       On January 17, ?017, yr:u authurized a transaction against Ms. Fauntlsroy'$

                          checking &ccount in the anrount of eight hundred twenty-six dcllar* and fifty-five

                          cer.r.ts   ($826.55) at Parx Casino in Bensalern, Pennsylvania.

               180.       The January 17, 2017 transactions at Parx Casino wsre not for the benefit of Ms.

                          Fauntleroy.

               l8l.       &{s" Fauntleroy was unaware of the January        17   ,   ?An   transactions at Parx Casino.




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        182. On January      2A, 2fi17, you authorized a transaction against Ms. l'auntleroy's

               checking account in the amount:of six hundred twenty dollars and sixty-fiy$ cents

               ($620.65) at Parx Casino in Bensalem, Pennsylvania.

        183.   The January 20, 2017 transaction at Parx Casino was nof for the benefit of Ms.

               Faunlleroy.

        184.   fuIs. Fauntleroy was unaw&rs     of the January 20, 301? trensaction at Parx Casino"
                                                  )




        185. On January ?4,201?, you auihorized a transaction against Ms. Fauntleroy's
               checking account in the amount of eight hundred twenty-six dollaru and filty-fir,e
                                                  I




               cents ($826.55) et Panr Casino in Bensalem, Pennsylvania.

        186,   The January 24,2017 transaction at Parx Casino was not for the benefit of Ms.

               Faentleroy.

        187,   Mr,. Fauntler$y w&s unaw&re of the January 74,2017 transaction al Parx Casino.

        188.   On January 26,2017, you authorized a tmnsaction ogainst Ms. Fauntleroyos
                                                      ]



               checking Bccount in the amount of one hundred forly dollars ($1a0.00) at the

               Borgata Hotel Casino & Spa in Atlantic City, New Jersey.

        189.   lhe January ?6,2017 transaction at the Borgata ]iotel Casino & Spa was not for

               thv benefit of Ms. Fauntleroy,

        190.   Ms" Fatmtleroy was un$wrre of tlre January 26,2017 tnursaction at the Borgata

               I.lotel Casino & Spa.




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                   191, On February 2,2A17,,you authnrized a transaction against Ms. Fauntlsroy's
                          checking account      ir   the amount of eight hundrecl twenty-six iJollars and fifty-five

                          cents ($826.55) at Parx Casino in Bensalem, Pennsylvania.

                   192. 'llrs February      2, 2017 transaction at Parx Casino was not for the benefit of Ms.

                          Fauntleroy.

                   193.   Ms. Fauntleroy was unaware of the February 2,?A17 kansaction at Parx Casino.

                   194. On February I0, ?0l7,,vou authorized a tran$sotion               against Ms. Fauatleroy's

                          checking account in the amount of five hundred seventeen dollars and seventy

                          cer,rts   ($517.70) at Parx Casino in Bensalem, Pennsylvania.

               195.       Or.. February     10,2017, yr:u authorized a transaction against Ms. Fauntleroy's

                          ch*cking &ccoult in the amount of three hundred eleven dollars and eighty cents

                          ($311.80) at Parx Casino in Bensalem, Pennsylvania.

               196. On February             10, 2017, you authorized a transaction against Ms. Fauntleroyos

                          ch*cking account in the amount of {bur hundred fo*rteen dollars and seventy-five

                          cents {$414.?5} at Parx Casino in Bensalem, Pennsylvania.

               197.       The February 10, 201? trarsactions at Parx Casino w$re not for the benefit of Ms,

                          b'ar;ntleroy.

               198, Ms. Fauntleroy             was unaware ol'the February 10, ?017 transactions at Panr

                          Ca.sino.


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        199.   On February 21, ?017, you authorjzed a transaction against Ms. Pauntleroy's

               checking accounl in tlre arnount of kve hundred seventesn dollars and seventy

               cents ($517.70) at Parx Casino in Bensalern, Pennsylvania.

       240.    The February 21, ?017 transaction at Parx Ca.sin* war nol for the benefit of Ms,

               Irauntleroy.

       301.    Ms. Fauntleroy was unalvare otl&e February' 21,2A17 transaction at Parx Casino.

       20?.    On F'ebruary 27,2tJ17, you authorized a transaction against Ms. Fauntleroy's
                                                :


               r:hecking accoultt in the amount     of five hundred twenty-tws dollars and ninety-

               five cents ($522.95) at the Tropicana Casino & Resort in Atlantic City, New

               Jersey.

       203.    The Sebruary ?7, 2017 transaction at the Tropicana Casino       & Resort was not for
               thc benefit of Ms. Fauntleroy.

       204. Ms, Fauntlgroy wils una\t'are of the Februar;, ?7, }Afi              transactior at the

               Tropicana Casino & Resofl.

       205.    On F'ebruary 27, 2017, yau authorized a transaction against Ms. Fauntleroy's

               checking &ccourt in the arnount of three hundred four rlollars and ninety-nine

               cents ($304.99) at the Borgata Hotel Casino   &   Spa in Atlantic City, New Jersey.

       2A6. fh: February 27,Z[fi       transaction at the Borg$ta Hotel Casino & Spa was rot for

               the bcnefit of Ms, Fauntleroy.

       2A7. Ms. Fauntlerov     was unaware of the February 27,2A17 transaction at the Borgata

               l{otel Casino & Spa.




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        208. On March l,        2017, yau authr:rized a trans*ction against Ms. Fauntleroy'$

               checking account in the amount of nine hundred twenty-nine dollars and fifty

               cents ($929.50) at Parx Casino in Bensalem, Pennsylvania.

        ?09. On March 1,2017, you           authorized   a   transaction against Ms, Fauntleroy's

               checking account in the amount,of six hundred twenty dollars and sixty-Jive cfitts

               ($S?0.65) *t Parx Casino in Bensalem, Pennsylvania.

        210.   The March     l, }An fansacticns    at Parx Casino were no1 *br the benefit of Ms.

               Fauntleroy.

        ?11.   lv[s. Fauntleroy was unawars ofthe March L,TA|V bansactions at Parx Casino.

        212. Or March 3, 2017, you          authorired   a   hansaetion against Ms. Fauntleroy's

               checking accoult in the amount of three hundred eleven derllars and eighty cents

               {$:il 1.80) at Parx Casino in Bensalem, Pennsylvania.

        213.   The March 3,2017 transaction at Parx Casino was not fur the benefir of Ms.

               Fauntleroy.

        214.   Ms. Frauntleroy was un&war$ ofthe March 3,201? transaction at Parx Casino.

        ?15.   On March 13,2017, you authorized a ffansaction against Ms. Fauntleroy's

               checking account in the amount of five hundred seventeen dollars and seventy

               cents ($51?.70) at Parx Casino in Bensalem, Pe*nsylvania.

        216. 'Ihs March      13,2017 transaction at Parx Casino wns not for th'e beneflr of Ms.

               Fauntlen:y.
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        217.   Ms. Fauntlsroy wfls unawars of the March 13,2017 transaction al Parx Casino.




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               218.     On April 3, ?017, you authorized a tran$action against Ms. Fauntleroyos      checking        l,


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                        account    in the amount of six hundred twenty          ck:ltars anrJ sixty-tive   csnts         ,,




                        ($620.65) at Parx Casino in tsensalem,     Pennsylvania                                          .




               219.     On April 3,2A17, you authorizsd a trsnsaction against Ms. Fauntleroy's checking

                        account in the amount of three hundred eleven dollars and eighty c6nts ($31 1.80)

                        at Parx Casino in Bensalem, Pennsylvania,

               2?0.     On April 3, 20t 7, you authorized a transaction against Ms. Fauntleroy's checking

                        acdount in the ilflount of one hundred fi{ty-seven dollars and thirty-eight cents

                        {$15?.38) at Parx Casino in Bensalem, Pennsylvania.

               221.     The April 3, 2017 transactions at Parx Casino were not for the benefit of Ms.

                        !'a,rntleroy.

i)                222. Ms, Fauntleroy      was un&w&re of the April 3,201? tranractiuns at Parx Casino.
iti
::a                                                        )



              723. OII April            14, 2017, you authorized   a   transaction against Ms. Fauntleroy's

                        checking account in the arnount of three hundred eleven rlollars and eighty cents

                        ($31 1.80) at Parx Casino in Bensalem, Pennsylvania.

              224.      The April 14, 2Al7 transaction at Parx Casinei w?s not tbr the benefit of Ms.

                        Fauntleroy.
                                                               :




              225.      Ms. Fauntleroy wss unaware of the April 14, ?017 transaction at Parx Casino,

              7?6. on April 27, 2a17, Ms. Fauntleroy               rsvoked the General Durable Power of
 +
 4
                        Attomey that she had executed in your fbvor on July 39,2016.

  it          ?27   .   By letter to lvls. Fauntleroy dated May l, ?017, you enclosed:




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                                                                                                                       |:
                                                                                                                       fi
                                                                                                                       ti


                                                                                                                       ,

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              November 8,2017
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                            a.   an accounting   of Ms. F'auntleroy's funds (hereinafter the "Accounting"); and
                                                                   :


                            b.   a certitied check   in the amciunt of sixty-seven thousand seven hundred eight

                                 dollars and fifteen cenrs ($67,70S.15).

                    228.    You represented in the Accounting that you had paid yourself a salary in the

                            arnount of nine thousand five hundred dollars ($q,500.00).

                    ?79. You represented in the Accounting that you had given Ms. Fauntleroy                    two

                           thousand frve hundred dollars ($2,500.00) in cash.

                    230.   You did not give Ms. Fauntleroy two thousand five hundred dollars ($2,500.00) in

                           ca"h.

  E
 Lli
    '               231.   Your representation in the Accounting that you had given Ms. Fauntleroy two
        .
                           *hcusand five hundred dollars ($2,500.00) in cash was fulse.
    "
    i               23?,
                    aa4
                           Ycu represented in the Accounting that you had paid one thousend four hundred

                           ti:<ty-eight tlollars and ninety cents ($1,463.90) to Dollar'{/ise Oil on Ms.
 .;
:.1

i
 ,                         Fauntleroy's behalf.
    r1




fl
    I

                    ZSS' You did not pay one thouserd          trbur hundred   sixf-eight dollars and ninety   cents

.,,
,$                         ,6i,7.A^^\
                           ($1,468.90) to Dollar wise    ^,"
                                                         oil
                                                               .


                                                               on Ms. Fauntleroy's behalf.
ii
r$
    "              ?34.    Your representafion in the Accounting that you had paid cne lhousantl four

j::
    ,.                     hundred sixty-eight dollars and ninety cents ($1,46S.90) to Dollar Wise Oil on

    ;n                     Ms.
                           tYrD' Fauntleroy"s
                                 t gglllll    behalf was false         .
    ,t
    "
    *(             235.    You representsd in the Accounting that you had paid one thousand thirty-two
:rI)

a




',l                        dollars and twenty-five cents ($1,032.25) to Petro Oil on Ms. Fauntleroy's behalf.

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               ?36. You did nol pey one thousand thirty-two dollars and fwenty-five                      cents

                      {$1,032.25) to Petro Oil on Ms. Fauntleroy,s behalf.

              237.    Yrur representation in the Accounting that you had paid one thousand thirty+wo

                      dollars and twenty-five cents ($1,032.35) to Petro Oil on Ms. Fauntleroy's
                                                                                                 behalf
                      was lalse.

              238.    Between July 29,2016, nnd April 27, ?017, you failed to regularly
                                                                                        pay Ms.
                      Fauntleroy's PECO    bi[   As of April 21, 201r, Ms. Fauntleroy,s account with

                      PECO had an unpaid balance    oi'five hundred sixty-nine dollars and twenty-ftu:

                     cents (9569.24).

              23q.   Be;ween July 39,2016, and April 27,2017. you taired to regurarly
                                                                                      pay Ms.
                     Farrnlleroy's llhiladelphia Gas Works   bill.   As r:f   April 24,2017,Ms, I?auntleroy,s
                     account with Philadelphia Gas Works h*d an unpaid balance of
                                                                                  four hundred
                     twsnty-$even dollars and sixty-one cents ($4?7,61)"

             240.    Between July 29, 2016, and April ?7, 2017, you fuiled to
                                                                              regularly pay Ms.
                     Fauntleroy's warerlsewer    & stormwater bill.             As of April 10, 2017,    Ms.
                     Fauntleroy'$ account with the Water Revenue Bureau hacl
                                                                             an unpaid balance of

                     tl*ee hundred sevenry-five doilars and one cent ($375.0r).

             ?41.    Between Juiy 29, 2016. and April 17, 2017, you failed to pay
                                                                                  Ms. Irauntleroy,s
                    bill with Major oil, Inc. As of'March ?4. a0l?, Ms. Fauntleroy,s acccunt
                                                                                             with
                    Majilr Oil, Inc.. had an unpaid balance of nine hundred tifty dollan and
                                                                                             eighty-

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                November 8, 201 7
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                       If the above allegations are true, we iare corcerned that you may have violated the
               following Rules of professional conduct: nrc s.+1uj *J npc g,4(ci.

                       The Office of Ilisciplinary Counsel will make no recommendatior for the
                                                                                                 disposition
               of this compllinl until you havo been affcrded an opportunity to rtate your positiou
                                                                                                         with
               respecf thcrett within thirS (30) days of the dafe of ihl* I*tt*", please
                                                                                         note thnt failure to
               respond-to thi* request for your stsfement of position without good
                                                                                     rause is au indep*nd*nt
               ground fnr disciplins pursunnt to Rule 203(bi(7) of tte Pennrylvania
                                                                                        .Rute* of Ilisciplinary
               [nforctment' The            of Disciplinary Counsel rvill only sgrse to n limited extension of
                                   llfice
               the thirfy-day deadline when tho request iot rnrde for speeific rea$ons
                                                                                            constituting good
               tar$e' If you do not respomd or provide good eruse for failing t* rospond
                                                                                            within thirty (30)
               days, the Offrcc of Dis*iplinary Counsel may serk to impose diseipline
                                                                                         for your violstion of
               Pa.R.D.E. 203(bX7).

                        Please be assured that we ffre not prejudging the alleged
                                                                                  facts and charg*s nor are we &n
              advr:cate on behalf    of the complainant. Raihei     G  *r* cortucting ao i*p*Ii*t and unbiased
              investigation witu regard.to this complaint. In rhar regarcl, we
                                                                                     will -i;tt to verify the
              stalements in your answer just &s we do with the statemenL
                                                                            made to us by the complainant. F,or
              this reaso$, and because a lawyer c.ar be subject to discipline for
                                                                                     making u *ut**u1y false
              statemsnt or delitrerately failing to disclose a material fuct in
                                                                                connectiqrn-with a disciplinary
              matter, you shoulcl be careful to be ascurate in your thctual statements.
                                                                                                 Additionally as
              previously staled, you may rvish to consult with counsel
                                                                       before replying ta the ull*gations"

                     In any repfy that you rnake, please chronologicaily and speci{ically
               " events
              the         and include             of  any particularli
                                                                                               staie your account of
                                        llrigs                         pertinent  documenti     to wlich you refer.
              cenerally, it is m*st helpful if yr:ur response deals iiem-by-item with
                                                                                        rhe allegations containsd in
              the numbered paragraphs in this retrer, as well as with the cited
                                                                                 Rules.

 :;                    Please be advised that $85"13   of the Disciplinary lloanl Rules requires that any response
:lr           to this letter:
         :


ti)


ai                              ... that contains afl avrffnent offact not appearing ofrecord or a
                                denial  uf fact shall inelude or be accompanieJ uy u verified
                                statement signed by the responclent-atlorney that the avermont or
                                denial is true based upon knowledge or informatir:n and belief.
                                                                                                l"he
     1

                                relpondent-attCIrney need not avcr the source of the information ar
lt                              cxDectation of ability to prove the avennent or denial. The verjlied
                                statement may be based upon personal knowledge &s t.., a pan nnd
$
                                up,;:n information and belief as to the remainder.

                     If we dCI not hear from you within thirfy (30) tjays, rve will assume that you do not
                                                                                                           desire
             to   submit yorlr position with respect to this                   and can pro*r"d to make our
                                                                    ""*pt*int




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                November 8, ?01?
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                recommendati*n {br an appropriate disposition on the basis of the infonnation
                                                                                                     and material
                contained in our file, including your failure to respond in violation of Rule 203(bX7), pa.R.D.E..
                However, we would certainly pref'er to have the benefit of your position before rnaking
                                                                                                              our
                recommendation.

                         Keep in mind that we may provide the complainant r.vith a copy of your stntement
                                                                                                                  of
                position or a summary ofi it ftrr the exprcss purpose oi obtaining a replication,
                                                                                                  unls$s you reque$t
                that llre cont$nt ol your answer, either in toial or in part, not br revealed and state
                                                                                                             reasons
                therefbr whilh represent good cause. If we do provide the compiainant with a copy
                                                                                                        or summary
                of your position, we will remind the complainant of the confidentiality of ow inquiry.

                       Ifyou harrs anY questions, you or yout counsel shoukj not hesitate to contact this office.
               Thank you for your anticipated cooperation ancl assistance in this important
                                                                                               mater. We look
               tilrward to receiving your resfron$e.               :




                                                             Very truly yours,
                                                               i



                                                             OFT"ICE OT' DISCPLINAR.Y COLNSEI-


                                                               PutY*
                                                             Daniel S. White
                                                             Disciplinar"v Counsel

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